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                EXHIBIT A
TO DECLARATION OF JENNY S. RADESKY, MD IN SUPPORT OF DEFENDANT’S
  OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
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                                      Jenny Radesky, MD
                               Associate Professor of Pediatrics
                           University of Michigan School of Medicine
                                         Ann Arbor, MI

Education and Training
5/2001                 B.A. in Natural Sciences, The Johns Hopkins University, Baltimore, MD
6/2007                 M.D. cum laude Harvard Medical School, Boston, MA
                       - Dedicated research year between 3rd and 4th years of medical school
                       - Senior research thesis: Nutritional predictors of gestational diabetes
6/2007-7/2010          Pediatrics Residency, Community Pediatrics and Advocacy Pathway,
                       University of Washington/Seattle Children’s Hospital, Seattle, WA
7/2011-6/2014          Fellowship in Developmental Behavioral Pediatrics, Boston University
                       School of Medicine/Boston Medical Center, Boston, MA

Certification and Licensure
2015            Michigan State full license
2015            American Board of Pediatrics Developmental Behavioral Pediatrics
2010            American Board of Pediatrics

Academic, Administrative, and Clinical Appointments
Academic Appointments
11/2013-11/2014      Clinical Instructor of Pediatrics, Boston University School of Medicine,
                     Boston, MA
11/2014-12/2015      Assistant Professor of Pediatrics, Boston University School of Medicine,
                     Boston, MA
1/2016-8/2022        Assistant Professor of Pediatrics, University of Michigan Medical School,
                     Ann Arbor, MI
9/2022 - Present     Associate Professor of Pediatrics with Tenure, University of Michigan
                     Medical School, Ann Arbor, MI
Administrative Appointments
9/2022 – Present     Division Director, Developmental Behavioral Pediatrics, University of
                     Michigan Medical School, Ann Arbor, MI
10/2022 – Present    Service Chief, Developmental Behavioral Pediatrics, University of
                     Michigan Medical School, Ann Arbor, MI
Clinical Appointments
7/2010-6/2011        Staff Physician, Pediatric Associates Inc., Bellevue, WA




Research Interests


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1. Parent mobile device use: My research has been the first to examine how parents use
smartphones around young children and associations with parent-child interaction and child
behavioral problems. My research focuses on parents’ emotional and cognitive reactions to
smartphone use, how smartphone use influences – and is influenced by – the quality of
parent-child relationships.

2. Early childhood media use and child social-emotional development: My research has also
explored how child individual differences (e.g., temperament, self-regulation) interact with
digital media use over time, and how this may influence social and emotional outcomes. I am
currently part of a working group of interdisciplinary researchers who study media use in
early childhood, and as the only physician in this group have aimed to translate our research
into clinical practice and interventional approaches with the American Academy of Pediatrics.
My more recent work focuses on how children conceptualize data collection, privacy, and
personalized content in digital devices.

3. Novel methodologies for measuring mobile device use: My research team has developed
new methods for tracking the mobile device use of parents and children, so that we can
objectively measure how smartphones and tablets are used. In addition, we have developed
schemes for analyzing the quality of educational content, digital play experiences, and
advertising exposure from mobile apps marketed to young children. We are examining
longitudinal associations between these aspects of mobile media content and children’s
executive functioning and self-regulation.

4. Inequities in digital media opportunities and risks: Through qualitative work and analysis
of digital design features (e.g., private identifier data collection), my recent research has
demonstrated disparities in digital media practices between children from higher and lower
socioeconomic status households.

5. Research partnership with Common Sense Media: Since 2020 my team has been
collaborating with Common Sense Media, a nonprofit organization that provides guidance
and advocacy around media use, to conduct novel research that can be rapidly disseminated.
Our work has examined the YouTube viewing histories of young children, racial/ethnic
representations and stereotypes within YouTube content, and tween/teen smartphone usage.

Grants
Current
NICHD 1R01HD102370-01A1 (Radesky, PI) 4/1/2021-3/31/2026                            3.0 calendar
Technology Use and Emerging Executive Functioning in Early Childhood
Total Award Amount: $3,538,615
The goal of this project is to examine longitudinal bidirectional associations between parent and
child media use (duration, interruption, use for regulatory purposes, and problematic design
affordances) and child executive functioning from ages 2 to 4 years, and moderation by child sex
and presence of psychosocial stressors.

NICHD P01HD109907-01 (Barr, PI)                      07/01/2022-06/30/2025         1.0 calendar


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Growing up in a Digital World: A synergistic approach to understanding media use in children
ages 0-8
Total Award Amount: $279,142
The goals of this grant are to: 1. Create a multi-institution, cross-disciplinary research program
that studies early childhood media use from birth to 8 years of age 2. Examine early childhood
predictors of problematic media use and social-emotional wellbeing 3. Examine how content and
context of media use influence problematic media use and social emotional wellbeing
Role: Co-Investigator (Site PI)

SAMHSA 1H79SM087180-01                                10/1/22-9/30/27              1.2 calendar
Center of Excellence on Social Media and Youth Mental Health
This Center aims to: 1) Improve the mental health of children and teens by reducing the risks and
leveraging the benefits of social media, 2) Build the capacity of individuals who work with youth
to mitigate social media’s harmful impacts on mental wellbeing and promote healthy social
media use, and 3) Synthesize and promote the evidence base and best practices for healthy social
media use via communication, guidance and other resources.
Role: Medical Director

Common Sense Media                                03/01/22-5/31/23             1.2 calendar
Teen Smartphone Pilot
This collaboration with Common Sense Media will track the smartphone usage of 300 11-17-
year-olds and examine associations between app usage with child socioeconomic status,
wellbeing, body image, and anxiety/depression.

Boston Children’s Hospital Digital Wellness Lab 06/01/22-5/31/23                  2.4 calendar
Social Gaming Study
This collaboration with the Digital Wellness Lab aims to explore the gameplay experiences,
decision-making, and conceptualizations of children who play socially interactive video games.

Previous
NIH 1R21NR019402-01A1 (McDaniel, PI)                4/1/2021-3/31/2023           1.20 calendar
Healthy Digital Habits in Parents of Infants
Annual Direct Costs: $24,978 Total Award Amount: $57,255
This study aims to characterize problematic and healthy smartphone use patterns in mothers in
the perinatal period and develop interventional methods.
Role: Co-Investigator (subcontract PI)

NICHD 1K23HD092626-1 (Radesky, PI)                  08/04/17 - 05/31/22            9 calendar
Technology and Parent-Child Interaction
Total Award Amount: $831,232
The goal of this career development award is to provide me training in theoretical models of
parent-child interaction and child development; methods for assessing parent-child interaction
including videotape coding, use of LENA audiorecording technology, and dyadic statistical
models; mobile device-based passive sensing methods; and opportunities to build collaborations
with experts in developmental psychology and information science. Its studies examine
concurrent and sequential associations between parent mobile device use and parent-child


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interaction using 1) behavioral coding of family meals and 2) LENA audiorecording of parent-
child interactions in the home, coupled with tracking of parent mobile device use.
Role: PI

Blue Cross Blue Shield of Michigan (Hamp, PI)        09/01/2021-12/31/2022          No effort
Pediatric Early Autism Recognition System: PEARS
Total Award Amount: $9,100
The goal of the proposed research is to pilot a primary care-based tiered autism evaluation model
the Pediatric Early Autism Recognition System (PEARS) - that aims to reduce time from referral
to diagnostic evaluation, lower the age at autism diagnosis and initiation of treatment, and build
capacity for autism care in the medical home.
Role: Mentor

Michigan Institute for Clinical and Health Research 12/01/20-11/20/21                1.2 calendar
Optimal Defaults in Children’s Digital Environments
This Pathway to Independence grant provides 1 year of additional mentored research to help me
build skills in strategic science, conduct policy-informed research, and collaboration with child
technology advocates.

NICHD 1R21HD094051-01 (Radesky, PI)                   08/01/18-07/31/21             1.2 calendar
Longitudinal associations between preschooler emotion regulation, executive function, and
digital media use.
Total Award Amount: $427,750
The goal of this study is to examine longitudinal, bidirectional associations between child
emotion regulation, executive function, and specific aspects of media use over the course of 6
months. Media use data will be collected via time use diary and app-based passive sensing
methods.
Role: PI

NICHD 1R41HD100230-01 (Radesky, Durnez, MPI) 09/01/19-08/31/20                     1.2 calendar
Beyond Screen Time: Developing an objective mobile media measurement tool
Total Award Amount: $150,000
This STTR application aims to develop an Android mobile sensing app, Chronicle, with
additional functionalities, including a research dashboard with automated data analysis; ecologic
momentary assessment; and user awareness. The purpose of developing this technology is to
improve the precision and ecologic validity of mobile media use measurements in studies
examining digital media and child development.

Diversity Equity and Inclusion Grant (Harris, PI) 09/01/20-08/31/21               No effort
Improving Response to Developmental Screening Through Integrated Behavioral Health in
Pediatric Primary Care
I am a co-investigator on this grant, which aims to implement and test a new coordinated
integrated developmental behavioral health program for high-risk children.

Common Sense Media                                   02/01/21-01/31/22             0.36 calendar
Racial and Ethnic Representations on YouTube


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This study partnered with experts in race and media to analyze representations and stereotypes
present within YouTube videos viewed by young children (0-8) and tweens/teens (9-17).

Woodson Biostatistics Award                          01/01/20-12/31/21            No effort
University of Michigan Department of Pediatrics
Understanding Early Childhood Media Use Profiles
This project seeks to use factor analysis to examine patterns of media usage among families with
young children, using objective and self-reported media measures.

Common Sense Media                                02/01/20-01/31/21             0.36 calendar
Zero to Eight: YouTube content analysis study
This study analyzes the content of YouTube viewing histories of children whose households
were surveyed as part of the Common Sense Media Zero to Eight Census

NICHD 1R03HD094077-01 (Radesky, PI) 08/01/18-06/30/20                                1.2 calendar
NIH                                           $155,584
Parent-toddler interactions during electronic versus print book reading
This experimental laboratory-based study will examine differences in parent-toddler verbal
interaction, nonverbal interaction, and toddler behavioral difficulties during and after reading
print versus electronic books.
Role: PI

University of Michigan M-Cubed Program (Schaub, PI)         03/01/19-03/01/20     No effort
Understanding Conceptualizations of Digital Privacy in Children
This multi-disciplinary collaboration between researchers in Information Science,
Developmental Psychology, and Pediatrics will examine how young children think about digital
privacy, how data are stored and transmitted to and from mobile devices, and implications for
privacy policy design.
Role: Co-I

Academic Pediatric Association Reach Out and Read Young Investigator Award 3/2017-9/2018
Electronic versus print books: Differences in parent-toddler interactions and toddler behavioral
regulation
Principal Investigator: Tiffany Munzer MD
Role: Primary Mentor
Funding Amount: $14,780

Janette Ferrantino Young Investigator Award (Radesky, PI)          06/01/17-05/31/18
University of Michigan Department of Pediatrics
Longitudinal associations between preschooler emotion regulation, executive function, and
digital media use.
This longitudinal study will follow preschoolers for 6 months, examining bidirectional
associations between emotion regulation, executive functioning, and traditional and mobile
media use.
Role: PI
Funding Amount: $40,000


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Academic Pediatric Association Bright Futures Young Investigator Award 3/2014-6/2015
Parent perspectives on mobile device use around and by young children
Principal Investigator: Jenny Radesky MD
Funding Amount: $15,000
HRSA Training Grant T32 HP10028-14-00
Principal Investigator: Jane Liebschutz, MD MPH
7/2011-6/2013
Role: Research fellow/trainee

Joel and Barbara Alpert Children of the City Fund/Boston University Medical Center
7/2013-12/2013
Mobile device use and caregiver-child interaction
Principal Investigator: Jenny Radesky MD
Funding Amount: $5998

NIDDK Medical Student Research Training Program Grant           7/2005-6/2006
Prenatal mercury and fatty acid exposure and child cognition
Principal Investigator: Walter Willett, PhD
Role: Medical student trainee

Honors and Awards
2001                 Phi Beta Kappa, Johns Hopkins University
2007                 New England Pediatric Society Prize
2007                 Harvard Medical School Presidential Scholars Program, Public Service
                     Initiative
2013                 Zuckerman Fellowship, Boston University School of Medicine
2016                 American Academy of Pediatrics Media Visiting Professor, University
                     of Illinois at Chicago Pediatrics Residency
2017                 American Academy of Pediatrics Communication and Collaboration
                     Award
2017, 2018           Elizabeth Caroline Crosby Award, University of Michigan ADVANCE
                     Program
2018, 2019           University of Michigan Department of Pediatrics Residency Top
                     Teacher Award
2019                 Visiting Professor, University of Lille, France
2020-present         Common Sense Media Early Childhood Initiative Advisory Group
2020-present         Power of Zero Advisory Group
2022-present         David G. Dickinson Collegiate Professorship

Memberships in Professional Societies
2007-present         Fellow, American Academy of Pediatrics
                     - Since 2016: Michigan Chapter



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                     -  Since 2015: Executive Committee, Council on Communications
                        and Media
                     - Since 2021: Vice Chair, Council on Communications and Media
                     - 2023: Chair, Council on Communications and Media
2002-present         Member, Massachusetts Medical Society
2012-present         Member, Society for Developmental Behavioral Pediatrics
2012-present         Member, Academic Pediatric Association
                     - 2018-2022: Co-Chair of DBP SIG
2014-2016            Member, Contextual Influences Working Group, Bridging the Word
                     Gap National Research Network
2018-present         Society for Pediatric Research

Editorial Positions, Boards, and Peer-Review Service
Board of Directors:
Melissa & Doug Toys, LLC

Editorial Board:
Journal Watch Pediatrics and Adolescent Medicine (2017-2020)
Journal of Developmental Behavioral Pediatrics (2018-2019)
Guest Editor, Special Issue on Children and Smartphones: Cyberpsychology, Behavior, and
               Social Networking (2019-2020)

Grant Review Service:
Eunice Kennedy Shriver National Institute of Child Health and Human Development (2019-
              2022)
Icelandic Research Council (2017)
Netherlands Organisation for Scientific Research (2019)
Nuffield Foundation, UK (2019)

Peer Review Service:
Pediatrics (2014-2022)
JAMA Pediatrics (2011-2022)
JAMA Network Open (2022-2023)
Journal of Developmental Behavioral Pediatrics (2015-2022)
Developmental Psychology (2022)
Journal of Children and Media (2016, 2021)
New England Journal of Medicine (2021)
Journal of Pediatrics (2021)
Acta Paediatrica (2020-2021)
Infant Behavior and Development (2020)
BMJ Open (2019)
Child Development (2017-2018)
Computers in Human Behavior (2017)
PLOS One (2017)
Maternal Child Health Journal (2015-2017)


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Scandinavian Journal of Psychology (2017)
Journal of Human Communication (2016)
Infancy (2015)
Early Human Development (2015)
Archives of Disease in Childhood (2012)
International Journal of Affective Disorders (2013)
Murdoch University Dissertation Committee (2017)
Pediatric Academic Societies abstract review (2013-present)

Teaching
Students: Fangwei Zhao (Undergraduate Communications Major, University of Michigan);
              Caroline McLaren (Undergraduate Kinesiology Major, University of
              Michigan); Marisa Meyer (Undergraduate Psychology/Communications
              Major, University of Michigan); Nalingna Yuan (Masters of Informatics
              student, University of Michigan); Tara Sulur (MS1, University of Michigan
              Medical School); Rasna Neelam (MS1, University of Michigan Medical
              School); Chrissie Massrey, BA, Boston Medical Center Autism Program intern

Residents: Sarah Frankl, MD (University of Washington); Rebecca Lane, MD (University of
               Michigan)

Fellows (mentoring): Kimberley Levitt, MD (DBP, University of Michigan); Nicole Hamp, MD
              (DBP, University of Michigan); Chioma Torres, MD (DBP, University of
              Michigan); Tiffany Munzer, MD (DBP, University of Michigan); Danielle
              Erkoboni, MD (General Academic Pediatrics, University of Pennsylvania).

Fellows (clinical teaching): Jayna Schumacher, MD; Fadiyla Dopwell, MD; Micaela Jett,
MD; Jacquelyn Branch, MD; Megan Pesch, MD; Tiffany Munzer, MD; Megan Quist, MD;
Kimberly Levitt, MD; Chioma Torres, MD; Krystal Chan-Zlatopolsky, MD; Megan Burke,
MD; Julie Ziatuna, MD.

Doctoral Students: Kaiwen Sun, UM School of Information; Chuan-Che Huang, UM School
of Information; Kari Sherwood, UM School of Social Work

Lectures
04/2012         Pediatric Grand Rounds (PAS Practice Talks), Boston Medical Center:
                “Unsoothable infant crying and risk of maternal depression.”
11/2012         Pediatric Case of the Week, Boston Medical Center: “We don’t want meds:
                Nonpharmacologic approaches to ADHD management.”
04/2013         Pediatric Grand Rounds (PAS Practice Talks), Boston Medical Center:
                “Behavioral antecedents of early media exposure.”
03/2014         Steven J. Parker Memorial CME Course in Developmental Behavioral
                Pediatrics, Boston MA. “Smartphone: Friend or Foe?”
04/2014         Pediatric Grand Rounds (PAS Practice Talks), Boston Medical Center.
                “Patterns of Mobile Device Use by Caregivers of Young Children During Fast

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                Food Meals”/“Are Children with Self-Regulation Problems Differentially
                Susceptible to Early Parenting?”
03/2015         Steven J. Parker Memorial CME Course in Developmental Behavioral
                Pediatrics, Boston MA. “Colic, Tantrums, and Sleep: Self-regulation Problems
                in Early Childhood”
05/2015         2015 Pediatric Academic Societies State-of-the-Art Plenary: “Parent media use
                and parent-child interaction.”
05/2015         New England School Nurse Association Annual Continuing Education
                Conference, Portsmouth, NH. “Digital Technology Use and Child
                Development.”
07/2015         Pediatric Grand Rounds, University of Michigan. “Mobile Media Use, Parent-
                Child Interaction, and Child Social-emotional Development.”
09/2015         Pediatric Grand Rounds, Boston University School of Medicine. “Mobile
                Media Use, Parent-Child Interaction, and Child Social-emotional
                Development.”
10/2015         American Academy of Pediatrics 2015 National Conference and Exhibition,
                Washington D.C. “Multitasking: From toddlers to parents.”
2014-2015       Fellow Support Rounds (monthly), Boston Medical Center Division of
                Developmental Behavioral Pediatrics
2014-2015       Media and Early Childhood Development lecture, pediatric interns, Boston
                Combined Residency Program
12/2015         Harvard Combined Neonatology Fellowship Research Lecture Series. “Mobile
                Media Use, Parent-Child Interaction, and Child Development.”
03/2016         University of Michigan Social Media Lab. “Mobile Media Use, Parent-Child
                Interaction, and Child Development.”
04/2016         Michigan Head Start Medical Advisory Committee. “Mobile Media Use and
                Child Social-Emotional Development.”
04/2016         2016 Pediatric Academic Societies Topic Symposium: “Digital Technology
                and the Word Gap: Barrier or Opportunity?”
09/2016         Michigan Chapter, American Academy of Pediatrics 2016 Annual Conference.
                “The ABCs of IEPs.”
11/2016         Saint Joseph’s Hospital Pediatric Grand Rounds. “Digital Technology and the
                Word Gap: Barrier or Opportunity?”
12/2016         Michigan Interactive and Social Computing Consortium. “Early Childhood
                Media Use.”
03/2017         University of Michigan Autism Spectrum Disorder CME. “After ASD
                Diagnosis: IEPs, Non-ABA Treatment Options, and Parent Support”
04/2017         HighScope International Conference. “Family Technology Use: How to
                Implement Evidence-based Family-Centered Practices”
05/2017         2017 Pediatric Academic Societies Plenary Lecture. “Digital Media Use and
                Cognitive Self-Regulation.”
05/2017         2017 Pediatric Academic Societies, Developmental Behavioral Pediatrics
                Special Interest Group. “Digital Media and Child Development: Policy
                Perspectives.”




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05/2017         Akron Children’s Hospital, Keynote Lectures. “Digital Media and
                Literacy/Social-Emotional Development.” And “The Developmental
                Behavioral Basis of the AAP Media Guidelines.”
05/2017         Denver Children’s Hospital, lunch conference. “Digital Media and Child
                Development: Policy Perspectives.”
05/2017         Reach Out and Read National Leadership Conference. “Digital Media and
                Parent-Child Interaction.”
06/2017         Saint Joseph’s Hospital Pediatric Grand Rounds. “The ABCs of IEPs.”
07/2017         University of Michigan Department of Pediatrics Grand Rounds. “Digital
                Media and Early Childhood: Update on the New AAP Guidelines.”
08/2017         Washtenaw Intermediate School District Early Childhood Conference. “Digital
                Media and Early Childhood: The New AAP Guidelines and Early Childhood
                Education.”
09/2017         University of Michigan CHEAR (Child Health Evaluation and Research) Unit
                conference. “Using apps to measure parent and child mobile device use:
                Opportunities and Limitations.”
10/2017         University of Michigan Child Psychology Trainee Lunch Series. “Digital
                Media and Early Childhood.”
10/2017         Society for Developmental Behavioral Pediatrics, Annual Conference,
                Cleveland, OH. “Autism Spectrum Disorder and Digital Media.”
11/2017         Obesity Week, Washington D.C. “Using technology to measure technology.”
1/2018          National Institute of Child Health and Human Development (NICHD) Media
                Exposure and Early Childhood Development scientific workshop: “A Pediatric
                Perspective on the Impact of Early Media Exposure.”
2/2018          Common Sense Media Truth Be Told: Kids and Media conference,
                Washington DC. Children and technology panel discussion.
2/2018          IoT of Toys - Developing a US-EU Public Interest Strategy, Washington DC:
                “What do children understand about IoT, and how are they vulnerable?”
3/2018          Michigan Head Start Association annual meeting, Ann Arbor, MI:
                “Preschoolers and Touchscreens.”
4/2018          Georgetown University Developmental Science Colloquia, Washington DC:
                “Digital Media and Parent-Child Interaction.”
4/2018          Children’s Screen Time Action Network, Boston, MA: “Commercialism is the
                Missing Link.”
4/2018          Denver Health Pediatric Grand Rounds, Denver CO
4/2018          Denver Health Early Childhood Lectureship, Denver CO: “Empowering
                Parents in the Digital Age: Supporting Parent-Child Interactions.”
5/2018          Pediatric Academic Societies, Invited Science Chair, Toronto, Canada:
                “Digital Media and Vulnerable Populations.”
5/2018          World Association of Infant Mental Health, Invited Plenary Speaker, Rome,
                Italy: “Digital Media and the Dyad”
6/2018          UCSF Division of General Pediatrics lunch conference, San Francisco, CA
6/2018          UCSF Pediatric Grand Rounds, San Francisco, CA: “Digital Media and Parent-
                Child Interaction.”




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8/2018          Digitaler Alltag mit Kindren (Digital Everyday Life with Children) conference,
                Universitats-Kinderspital, Zurich, Switzerland: “Parent Technology Use and
                Parent-Child Interaction.”
10/2018         Public Health Ontario Grand Rounds (webinar): “Parent Technology Use and
                Parent-Child Interaction.”
10/2018         MDHHS Autism Training Program (webinar): “The ASD Team: Perspective
                from a Developmental Behavioral Pediatrician”
11/2018         American Academy of Pediatrics National Conference and Exhibition: “Digital
                Media and Early Childhood: The Good, The Bad, and the Unknown.”
                Orlando, Florida.
11/2018         Family Online Safety Institute Annual Conference, Washington, D.C. “Hooked
                on Tech?” panel discussion.
12/2018         University of Michigan T32 Training Program in Developmental Science:
                “Digital Media and Early Childhood: Clinical Cases and Evidence Base”
1/2019          National Leadership Forum, Alliance for Media Literacy in Early Childhood.
                Erikson Institute, Chicago IL. Panel Discussion: “How Early Childhood
                Programs Can Support Media Literacy Education”
2/2019          Hospital for Sick Kids Infant Mental Health Program, Toronto CA. “Digital
                Media and Parent-Child Interaction”
2/2019          Discussant, Senate Roundtable regarding the Children and Media Research
                Advancement Act, with Senators Markey (D-MA) and Blunt (R-MO); United
                States Senate, Washington DC.
3/2019          Michigan Head Start Association Annual Conference, Ann Arbor MI: “Apps
                and Young Brains.”
3/2019          University Center for Child and Family, Ann Arbor, MI – Trainee case
                conference: “Media and Mental Health.”
4/2019          Pediatrics Academic Societies Annual Conference, Baltimore MD. Topic
                Symposium “Digital Natives: The Changing Nature of Children’s Media Use”
5/2019          Common Sense Media Designing for a Digital Future Conference, Mountain
                View, CA. “NSFK: Getting to Quality Content” panel discussion.
8/2019          Hurley Children’s Hospital Grand Rounds “Digital Media and Early
                Childhood: The Good, The Bad, and the Unknown.” Flint, Michigan
9/2019          Seminars in Pediatrics Keynotes, Madison WI: “Practical Strategies for
                Addressing Digital Media in Primary Care” and “Digital Media and Early
                Childhood Outcomes.”
10/2019         Zero To Three National Conference, Fort Lauderdale, FL. “Screen Media Best
                Practices: Integrating Media Guidance into Parent-Child Work”
10/2019         Federal Trade Commission workshop: The Future of the COPPA Rule. “The
                Digital Playground: App Design, Data Collection, and Policy Implications.”
10/2019         American Academy of Pediatrics National Conference and Exhibition, New
                Orleans, LA. “Social Media: The Good, Bad, and Unknown”
10/2019         American Academy of Pediatrics National Conference and Exhibition, New
                Orleans, LA. “Advertising in Apps for Young Children.”
10/2019         American Academy of Pediatrics National Conference and Exhibition, New
                Orleans, LA. “Gamified Childhood” (Plenary)



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11/2019         Seton Hall Law School Child Privacy Symposium, Newark, NJ: “Mobile and
                Interactive Media Use by Children: Design and Policy Implications.”
11/2019         University of Lille, Lille, France. “Digital media and parent-child interaction”
1/2020          Welsh Lectureship, University of California San Diego Department of
                Pediatrics. “Early use of old (and new) Media and Children’s Cognitive
                Development.”
1/2020          University of Michigan School of Communication and Media invited lecture.
                “Naturalistic Methods for Studying Child and Parent Media Use.”
1/2020          Osher Lifelong Learning Institute, Ann Arbor MI. “Digital Media and Parent-
                Child Interaction.”
1/2020          Michigan Privacy Symposium, University of Michigan School of Information.
                “Children and Technology.”
1/2020          Center for Human Growth and Development T32 seminar, “Working with the
                Media”
4/2020          Connecticut Children’s Hospital Pediatrics Grand Rounds: “Digital Media and
                Parent-Child Interaction.”
5/2020          ZERO TO THREE Board of Directors/Annual Scientific Meeting (virtual):
                “How Digital Media are Shaping Children’s Relationships with Parents and the
                World”
5/2020          Michigan Medicine Department of Pediatrics Grand Rounds: “Beyond Screen
                Time: The Importance of Relationships, Design, and Disparities.”
5/2020          U.S. House of Representatives webinar Round Table re: Children and Media
                Research Advancement Act
6/2020          Noggin University webinar, “Beyond Screen Time: Thinking in Terms of
                Children’s Digital Environments”
6/2020          Reach Out and Read COVID-19 webinar, “Advocating for Children’s Digital
                Environments”
7/2020          New York Academy of Sciences webinar, Effects of Screen Time on the
                Developing Brain. “Thinking Beyond Screen Time: Developmental Processes
                and Design”
7/2020          Ascension Hospital Pediatrics Grand Rounds: “Beyond Screen Time: The
                Importance of Relationships, Design, and Disparities.”
9/2020          Back2School Facebook Live, Michigan Medicine C.S. Mott Children’s
                Hospital Livestream to support families during COVID-19
9/2020          Michigan Medicine Pediatrics Residency, “Attachment and Parenting in Early
                Childhood”
10/2020         American Academy of Pediatrics National Conference an Exhibition, “Digital
                Health: Helping Families Navigate Digital Media.”
10/2020         MIPJunior (Industry conference) Future Talk: “The Digital Playground: How
                Design Can Support Social Good.”
10/2020         Ann Arbor Public Schools, Lawton Elementary School Parent-Teacher
                Organization. “Surviving Remote Learning”
11/2020         Hong Kong Mental Health Conference, Hong Kong (virtual). “Digital Media,
                Parent-Child Interaction, and Social-emotional Development.”
11/2020         Children and Screens Webinar, “Advertising and Children.”



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1/2021          New York Zero to Three Annual Conference: Risks and Benefits of Digital
                Media in Families
3/2021          Connecticut Children’s Hospital COVID-19 update: “Families and Digital
                Media During COVID-19”
4/2021          US Play Coalition first annual conference: “The Science Behind Why
                Pediatricians Prescribe Play.”
4/2021          Children’s Hospital of Pennsylvania Pediatrics Grand Rounds: “Health
                Defaults in Children’s Digital Spaces: Relevance for Policy, Research, and
                Clinical Guidance.”
4/2021          Federal Trade Commission Workshop: Bringing Dark Patterns to Light. “How
                Dark Patterns Target Kids”
5/2021          New York University US-Italy Webinar: “Children After the Pandemic”
5/2021          Scary Mommy Live Work Thrive Webinar Series: “Are the kids alright?”
6/2021          Interaction Design for Children Annual Conference Keynote: “Moving Beyond
                ‘Screen Time:’ Advocating for a Child-Centered Digital Environment.
9/2021          University of Pittsburgh Department of Pediatrics Grand Rounds: “Children
                and digital media during COVID-19: How digital environments have
                supported or undermined child well-being”
9/2021          Scary Mommy Live Work Thrive Webinar Series: “Ready for School”
9/2021          Common Sense Media parent education webinar: “Setting goals and achieving
                balance with tech and family”
10/2021         Testimony for the United States House of Representatives Subcommittee on
                Health of the Committee on Energy and Commerce. Hearing entitled,
                “Enhancing Public Health: Legislation to Protect Children and Families.”
10/2021         Society for Developmental and Behavioral Pediatrics Annual Conference
                (Austin, TX/Virtual): “Tech and Kids: 5 Things Parents Need to Know about
                the Digital Environment.”
11/2021         Georgia Chapter of the American Academy of Pediatrics Annual Conference
                (Atlanta, GA), Keynote Lecture: “Beyond “Screen Time:” Importance of
                Relationships, Design, and Disparities”
12/2021         Frontiers in Pediatrics Annual Continuing Medical Education Conference
                (Charleston, SC), Keynote Lecture: “Digital Health: Helping Families
                Navigate the Digital Environment”
1/2022          Rush School of Medicine Department of Pediatrics Grand Rounds (Virtual):
                “Beyond “Screen Time:” Importance of Relationships, Design, and
                Disparities”
1/2022          Michigan Early Childhood Director’s Association (virtual training): “Digital
                Media and Early Childhood Development: The good, the bad, and the
                unknown”
1/2022          Scary Mommy Live Work Thrive Webinar Series: “Are they Ready for a
                Smartphone?”
2/2022          Panel presentation: "Children’s Technology Use During the Pandemic: From
                Forbidden Fruit to Fast Food?" 17th International Conference on Information
                Systems (WI22) in Nürnberg, Germany (virtual)




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3/2022          Boston Medical Center/Boston University School of Medicine Department of
                Pediatrics Grand Rounds: ““Healthy Defaults” in Children’s Digital Spaces:
                Relevance for policy, research, and clinical guidance”
3/2022          Abu Dhabi Early Childhood Authority Worldwide Early Development (WED)
                Forum, Roundtable on parent technology use. Abu Dhabi, United Arab
                Emirates
3/2022          California Assembly Committee on Privacy and Consumer Protection,
                Informational Hearing on The California Age Appropriate Design Code.
                Sacramento, CA.
4/2022          University of Oklahoma 47th Annual Advances in Pediatrics keynote: “Digital
                Media and Child Health” (Oklahoma City/Virtual).
5/2022          Michigan Association for Infant Mental Health Biannual Conference Keynote:
                “Digital Media and Parent-Child Interaction” (Michigan/Virtual)
5/2022          Michigan Association for Infant Mental Health Biannual Conference
                Workshop: “Helping Families Navigate the Digital Environment”
                (Michigan/Virtual)
9/2022          Slovenian Pediatric Association Annual Meeting, Keynote lecture:
                “Navigating the Digital World: Helping families understand when design
                supports or undermines wellbeing” (Bled, Slovenia; virtual).
10/2022         Federal Trade Commission workshop (virtual) on Stealth Advertising to
                Children
12/2022         Plenary Lecture, Georgetown University REACH Program: “Stretching
                Beyond your Comfort Zone: How Cross-Disciplinary Work Improves Child
                Research” (Virtual)
2/2023          National Academies of Science study on social media and youth mental health,
                Panel on Advertising (virtual)
2/2023          Designed with Kids in Mind Coalition meeting, Washington DC: “Strategic
                Science: Research that informs child technology policy”
3/2023          Fairfax School Health Advisory Council, Fairfax VA: “Promoting mental
                wellbeing and healthy relationships with technology”


Committee, Organizational, and Volunteer Service
Institutional
2007-2010       Residency curriculum planning committee, University of Washington/Seattle
                Children’s Hospital, Seattle WA
2008            Intern selection committee, University of Washington/Seattle Children’s
                Hospital, Seattle WA
2015            Department of Pediatrics, Chair’s Strategic Planning Committee, Boston
                University School of Medicine, Boston MA
2017            University of Michigan Pediatrics Residency applicant interviewer
2018            Zero to Thrive Faculty Selection Committee, University of Michigan
                Department of Psychiatry
2020-2022       University of Michigan Medical School Admissions Interviewer



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2020-present Michigan Medicine Department of Pediatrics Research Symposium Planning
             Committee
2023-present University of Michigan Medical School Department of Pediatrics Promotions
             Committee
2023         University of Michigan Health Equity Research Steering Committee

Local
2016-current Medical Advisory Committee, Autism Alliance of Michigan
2017         Eberwhite Elementary School volunteer, Media/Technology Center
2017-current Board of Directors, Child Care Network of Washtenaw County
             2022: Elected Secretary
2019         Michigan Department of Health and Human Services Autism Evaluation and
             Treatment Working Group
2019         Flint Water Crisis Community Advisory Board

National
2016         American Academy of Pediatrics National Conference and Exhibition Peds21
             Planning Committee, Abstract Chairperson
2017         American Academy of Pediatrics Council on Communications and Media,
             Media Visiting Professor Selection Committee
2018         American Academy of Pediatrics Council on Communications and Media, lead
             author for upcoming policy statement on digital marketing to children
2018         NICHD Strategic Planning Committee, Invited Member
2020         Common Sense Media Early Childhood Initiative Advisory Group
2021-current Designed with Kids in Mind Steering Committee

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and Matthew W. Gillman. Associations of physical activity and inactivity before and during
pregnancy with glucose tolerance. Obstetrics and Gynecology 2006;108(5):1200-7. [I derived the
gestational diabetes variable and edited final paper].

2. Kleinman KP, Oken E, Radesky JS, Rich-Edwards JW, Peterson KE, Gillman MW. How
should gestational weight gain be assessed? A comparison of existing methods and a novel
method, area under the weight gain curve. Int J Epidemiol 2007 Dec;36(6):1275-82. [I performed
background literature review, helped analyze data, and edited final paper].

3. Jenny S. Radesky, Emily Oken, Sheryl L. Rifas-Shiman, Ken P. Kleinman, Janet W. Rich-
Edwards, Matthew W. Gillman. Diet during early pregnancy and development of gestational
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2013;34(2):138-40. (Peer-reviewed case discussion)

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interdependence. Pediatrics. 2013;131(4):631-3. (Peer-reviewed perspective)

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9. Radesky JS, Kistin CJ, Zuckerman B, Nitzberg K, Gross J, Kaplan-Sanoff M, Augustyn M,
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10. Radesky JS, Silverstein M, Zuckerman B, Christakis DA. Infant self-regulation and early
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traumatized mothers. Journal of Developmental Behavioral Pediatrics. 2014;35(3):189-96.

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children: The good, the bad and the unknown. Pediatrics. 2015;135(1):1-3. (Peer-reviewed
perspective)

13. Radesky JS, Miller AL, Rosenblum KL, Appugliese D, Kaciroti N, Lumeng J. Maternal
mobile device use during a parent-child interaction task. Academic Pediatrics. 2015;15(2):238-
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14. Radesky JS, Peacock-Chambers E, Zuckerman MD, Silverstein M. Toddler social-
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2016;170(4):397-9.

15. Radesky JS, Eisenberg S, Kistin CJ, Gross J, Block G, Zuckerman B, Silverstein M.
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17. Radesky J, Christakis D, Hill D, Ameenuddin N, Chassiakos Y, Cross C, Radesky J,
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mental representations of the child and mobile phone use during parent-child mealtimes. Journal
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44. Sun K, Sugatan C, Afnan T, Simon H, Gelman SA, Radesky J, Schaub F. “They See You’re
a Girl if You Pick a Pink Robot with a Skirt”: A Qualitative Study of How Children
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57. Hamp N, DeHaan SL, Cerf CM, Radesky JS. Primary Care Pediatricians’ Perspectives on
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Non Peer-Reviewed Publications
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2015;91(4):318-9. (Commentary)

2. Silverstein M, Radesky JS. Embrace the Complexity: The U.S. Preventive Services Task
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3. Radesky JS. Policy addresses how to help parents manage young children’s media use. AAP
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4. Radesky JS, Carta J, Bair-Merritt M. The 30 Million–Word Gap: Relevance for Pediatrics.
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5. Radesky JS, Christakis DA. Increased screen time: implications for early childhood
development and behavior. Pediatric Clinics of North America. 2016 Oct 31;63(5):827-39.
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autism? AAP News. October 10, 2017.

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Medications. Journal of Developmental & Behavioral Pediatrics. 2018 Sep 1;39(7):591-3.

8. Radesky JS. Digital media and symptoms of attention-deficit/hyperactivity disorder in
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Complex Young Man: Autism Versus Psychosis. Journal of Developmental & Behavioral
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15. Radesky JS. Advocating for a Child-Centered Digital Environment. ZERO TO THREE
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16. Radesky JS. Smartphones and Children: Relationships, Regulation, and Reasoning.
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Books
1. Editor, Encounters with Children, 5th edition. Mosby (publication date planned 2024).

Book Chapters
1. Radesky JS, Zuckerman B. Preventing Early Infant Sleep and Crying Problems and Postnatal
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2. Radesky JS, Zuckerman B. Learning from apps in the home: Parents and play. In Apps,
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5. Radesky JS. Digital Media. Zuckerman Parker Handbook of Developmental Behavioral
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6. Radesky JS. Mobile Media and Parent-Child Interaction. Donohue, C. (Ed.). (2019).
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Abstracts
1. Jenny S. Radesky, Barry Zuckerman, Michael Silverstein, Frederick P. Rivara, Marilyn
Barr, James Taylor, Liliana J. Lengua, Ronald G. Barr. Unsoothable infant crying and
maternal postpartum depression. Platform presentation, Pediatric Academic Societies Annual
Meeting, 2012.

2. Radesky JS, Silverstein M, Zuckerman B, Christakis DA. Behavioral antecedents of early
media exposure. Platform presentation at the AAP Presidential Plenary Session, Pediatric
Academic Societies Annual Meeting, 2013.

3. Radesky JS, Zuckerman B, Silverstein M. Are infants with self-regulation problems
differentially susceptible to early parenting? Platform presentation, Pediatric Academic
Societies Annual Meeting, 2014.

4. Radesky JS, Miller AL, Rosenblum KL, Chen Y, Kaciroti N, Lumeng J. Maternal mobile
device use during a parent-child interaction task. Platform presentation, Pediatric Academic
Societies Annual Meeting, 2014.




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5. Radesky JS, Kistin CJ, Zuckerman B, Nitzberg K, Gross J, Kaplan-Sanoff M, Augustyn
M, Silverstein M. Patterns of mobile device use by caregivers and young children during fast
food meals. Platform presentation, Pediatric Academic Societies Annual Meeting, 2014.

6. Radesky JS, Eisenberg S, Kistin C, Zuckerman B, Silverstein M. Parent views regarding
mobile device use by young children: Implications for anticipatory guidance. Poster symposium,
Pediatric Academic Societies Annual Meeting, 2015.

7. Radesky JS, Domoff S, Sturza J, Lumeng J, Miller A. Modifiers of parent-child interaction
during digital media use. Platform presentation, Pediatric Academic Societies Annual Meeting,
2016.

8. McDaniel B, Radesky JS. Technology interference in parent-child activities: Bidirectional
associations with internalizing and externalizing child behavior. Society for Research in Child
Development Special Topics Meeting, Irvine CA 2016.

9. Munzer T, Radesky JS. Preschooler screen media use is associated with multiple measures
of self-regulation. Poster Presentation, Pediatric Academic Societies, San Francisco CA, 2017.

10. Radesky JS, Weeks H, Yuan N, Ho T, Chung S, Newman M. How do parents of young
children use their smartphones? Implications for parent-child interaction. Platform presentation,
American Psychological Association Mind, Tech, & Society Conference, Washington DC, 2018.

11. DeHudy A, Radesky J, Hashikawa AN, Ambrose M. Unplugging and Learning: Benefits
and Drawbacks of Digital Media Use While at Summer Camp. Poster Presentation, Pediatric
Academic Societies, Toronto Canada 2018.

12. Tiffany Munzer, Alison Miller, Heidi Weeks, Niko Kaciroti, Julie Lumeng, Jenny Radesky.
Parent-toddler reading engagement differs when reading electronic versus print books. Platform
Presentation, Pediatric Academic Societies, Toronto Canada 2018.

13. Erkoboni D, Caputo C, Radesky J. Defining Clinician-Librarian Partnerships to Promote
Constructive Digital Media Use for At-risk Youth. Poster Presentation, Pediatric Academic
Societies, Toronto Canada 2018.

14. Meyer M, Adkins V, Yuan N, Chang S, Radesky J. Advertising in young children’s apps: A
content analysis. Poster Presentation, Pediatric Academic Societies, Toronto Canada 2018.

15. Munzer TG, Miller AL, Weeks HW, Radesky JS. Predictors of positive parent-child
interactions around digital media. Paper symposium, Society for Research in Child
Development, Baltimore MD 2019.

16. McDaniel B, Radesky JS. The Distracted Family: Associations between Parent
Distraction with Technology, Parenting, and Child Distraction with Technology. Paper
symposium, Society for Research in Child Development, Baltimore MD 2019.



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17. Radesky JS, McDaniel B. Longitudinal associations between early childhood
externalizing behavior, parenting stress, and media use. Paper symposium, Society for
Research in Child Development, Baltimore MD 2019.

18. Meyer M, McLaren C, Radesky J. Educational quality of children’s apps: A content
analysis. Platform presentation, Pediatric Academic Societies, Baltimore MD 2019.


Research Dissemination and Selected National Media Coverage:

Parent Support During COVID-19:
In response to increased family stress due to school closures and social distancing, I organized
and moderated an 8-part web series featuring Michigan Medicine experts in mental health,
psychology, adolescent health, chronic illness, racial injustice, trauma and coping, and
developmental disabilities. The web series, Thrive with Your Family, was coordinated through
C.S. Mott Children’s Hospital and the Department of Psychiatry. In addition to answering
parents’ submitted questions, we discussed strategies for managing child behavior, sleep,
medical care, screen time, and parent stress; we also provided tangible resources with every
episode: https://www.mottchildren.org/thrive-with-your-family

Parent-focused Research Dissemination:
In 2018-2019, I wrote a bimonthly article on the PBS Parents website ‘Expert Tips & Advice’
section about parenting and technology:
http://www.pbs.org/parents/expert-tips-advice/2019/01/tips-for-using-virtual-assistants-with-
kids/
http://www.pbs.org/parents/expert-tips-advice/2018/05/how-do-our-phones-affect-our-
parenting/
http://www.pbs.org/parents/expert-tips-advice/2018/10/happy-halloween-6-tips-to-prep-kids-
for-trick-or-treating/
http://www.pbs.org/parents/expert-tips-advice/2018/09/how-smart-media-can-help-kids-and-
parents/
http://www.pbs.org/parents/expert-tips-advice/2018/11/advertising-in-kids-apps-what-should-
parents-do/

In 2020-2021, I have written a biweekly blog for the Melissa & Doug website’s “Stuck Inside
Guide” to help parents and children cope emotionally with pandemic-related school closures,
stress, and social distancing. Examples posts include:
https://www.melissaanddoug.com/blogpost/?postId=introducing-a-new-series-on-families-
and-tech-during-covid-19
https://www.melissaanddoug.com/blogpost/?postId=coping-with-uncertainty-about-school
https://www.melissaanddoug.com/blogpost/?postId=building-empathy-through-play
https://www.melissaanddoug.com/blogpost/?postId=helping-children-with-special-needs-
during-school-closures
https://www.melissaanddoug.com/blogpost/?postId=seeing-more-defiance-play-can-help




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In 2021, I have also written several parent-directed articles for CNN about parenting,
technology design, and policy needs:
https://www.cnn.com/2021/03/22/health/pandemic-kids-screen-time-wellness/index.html
https://www.cnn.com/2021/05/18/health/kids-digital-advertising-wellness/index.html

Selected Press Coverage of my Research:
1. National Public Radio Morning Edition: For the children’s sake, put down that
smartphone. http://www.npr.org/blogs/health/2014/04/21/304196338/for-the-childrens-sake-
put-down-that-smartphone

2. The New York Times: Parents, wired to distraction
http://well.blogs.nytimes.com/2014/03/10/parents-wired-to-distraction/

3. TIME Magazine: Stop worrying about your kids’ screen time
http://time.com/89830/parents-phones-kids/

4. CBS News: Parents absorbed in smartphones scold kids more harshly in study
http://www.cbsnews.com/news/parents-absorbed-in-smartphones-scold-kids-more-harshly-in-
study/

5. Boston Globe: Parents’ absorption in mobile devices can take a toll on kids.
http://www.bostonglobe.com/lifestyle/2015/03/29/parents-absorption-mobile-devices-can-take-
toll-kids/aNZpWKGlbVNBgRd96GmngO/story.html#

6. TODAY Show: How cell phones are affecting families – and what to do about it.
http://www.today.com/parents/how-cell-phones-are-affecting-families-what-do-about-it-t37111

7. TIME Magazine: Help! My Parents Are Millenials! (Cover Story)
http://time.com/help-my-parents-are-millennials-cover-story/

8. The New York Times: The guilty secret of distracted parenting.
https://www.nytimes.com/2017/03/20/well/family/the-guilty-secret-of-distracted-parenting.html

9. CBS This Morning: 95 percent of most downloaded apps for young kids target them with ads,
study finds. https://www.cbsnews.com/news/ads-targeting-children-game-educational-apps/

10. National Public Radio nprEd: Parenting in the Age of Screens: Here’s What the Experts Do.
https://www.npr.org/sections/ed/2018/07/12/625399353/parenting-in-the-age-of-screens-heres-
what-the-experts-do




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